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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and
CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                         Plaintiffs,

                    v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                              Case No.: 1:22-cv-00125
OF CHICAGO, THE TRUSTEES OF COLUMBIA
                                              Hon. Matthew F. Kennelly
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA, WILLIAM
MARSH RICE UNIVERSITY, VANDERBILT
UNIVERSITY, and YALE UNIVERSITY,

                         Defendants.




SUPPLEMENT TO JOINT STATUS REPORT OF PLAINTIFFS AND GEORGETOWN
   TO RESOLVE PLAINTIFFS’ MOTION TO COMPEL AND FOR SANCTIONS
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                 PLAINTIFFS’ POSITION ON SUPPLEMENTAL FILING

         On the evening of July 31, 2023, the same day the parties filed the Joint Status Report

(JSR) concerning Plaintiffs’ underlying motion against Georgetown and its counsel for discovery

misconduct, Georgetown produced several copies of the                          (attached as Exhibits A,

B, C, D) at issue in Plaintiffs’ motion. This production occurred more than fourteen (14) months

after Georgetown and its counsel knew of the                       and two and a half months after the

Court-ordered deadline to produce all responsive documents.

         Plaintiffs have reasonably concluded, from the facts and all appearances, that Georgetown

decided to withhold the production of these           until the evening of July 31 to prevent Plaintiffs

from including them as exhibits to the July 31 JSR. Georgetown’s position, that it is simply

happenstance that the process of providing UIDs precluded Georgetown from making one or more

copies of the                     available in time to be used for the JSR for review by the Court, does

not alter Plaintiffs views. Those views are sensibly based on the fact that the actual

       strongly support Plaintiffs’ underlying motion and the points made by the Plaintiffs in the

JSR.

         First, the    are conclusive evidence that Georgetown falsely asserted in the January 13,

2023, JSR that Plaintiffs had proposed merely “hypothetical” and “speculative” scenarios in

positing that



                       . In the
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       Second, redacted as they are, the      vividly illustrate Plaintiffs’ point that such redactions

thwart meaningful discovery. The Court has previously acknowledged that it would not be useful

for Plaintiffs to have, and thus improper for Defendant to produce, documents with “NSA”-level

redactions. Yet that is the level of redaction in these documents. And Georgetown has compounded

the problem by failing to produce with the

                                                With these NSA level redactions, there is no way,

for example to tell if



                                                                     ; and in effect no way to ask a

deponent meaningful questions. The         thus underscore points that Plaintiffs made in the recent

JSR.

       Third, what Georgetown has done with these            also vividly shows how Georgetown’s

own proposed remedies are inadequate to remedy their infractions, and in fact exacerbate them.

Plaintiffs need to ask witnesses (at depositions that are now taking place and others already

scheduled) questions they can answer, including

                    . A two-step process in which the parties negotiate further—months after an

unequivocal court-ordered deadline for production—whether additional documents will be

produced to Plaintiffs beyond completely opaque        is unworkable. An adequate remedy requires

either the substitution of names for UIDs, or in the very least, the use of a confidential glossary.

       Moreover, this case involves matters of national public policy significance and, for that

additional reason, should be litigated by all parties in a transparent manner. Considering these

facts—and, frankly, the extent to which Georgetown’s production of these documents is consistent

with the Court’s admonition at the July 24 status conference that Georgetown has been playing




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“dirty pool” with respect to such documents—the Court should order each item of relief sought in

Plaintiffs’ Proposed Form of Order #1: No Redactions.

      GEORGETOWN’S POSITION ON PLAINTIFFS’ SUPPLEMENTAL FILING

       This “Supplement to the Joint Status Report” is being made at Plaintiffs’ insistence and

Georgetown is responding solely to ensure that Plaintiffs’ unwarranted attacks do not go

unanswered. Plaintiffs are re-hashing arguments that the parties have fully addressed and briefed

in both the motion to compel and the July 31 Joint status report. See ECF 403 at 10-12; ECF 410

at 6-14; ECF 417 at 1-10. Georgetown does not believe that Plaintiffs’ “supplement” adds

anything to the issues currently before the Court and it ignores Georgetown’s substantial offers of

production, but Georgetown largely declines to engage—again—on these same issues and will rest

on its prior briefing. Georgetown notes, however, that Plaintiffs’ renewed demand that responsive

documents be produced completely unredacted ignores the parties’ ongoing discussions on a

possible path forward that will hopefully satisfy both sides’ concerns. ECF 417 at 4, 10. As to

Georgetown’s production of several of its                        on July 31, Georgetown informed

Plaintiffs’ counsel at 10:00 a.m. Central Time that morning (as part of its draft of the joint status

report) that it intended to make a production that day of the first tranche of the very documents

that Plaintiffs are and have been requesting. At no point did Plaintiffs ask Georgetown to expedite

the production, make it by a specific time in the day, and/or state that Plaintiffs wanted to attach

anything to the July 31 joint status report. The parties have made their arguments to the Court and

Georgetown respectfully suggests that enough is enough unless and until the Court requests further

briefing.




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 Dated: August 4, 2023                              Respectfully Submitted,

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